
GRIMES, Justice.
We review Norsworthy v. Holmes Regional Medical Center Inc., 598 So.2d 105 (Fla. 5th DCA 1992), because of its conflict with Tanner v. Hartog, 593 So.2d 249 (Fla. 2d DCA 1992). We have jurisdiction under article V, section 3(b)(8) of the Florida Constitution.
In Tanner v. Hartog, 618 So.2d 177 (Fla.1993), we recently quashed a portion of the Tanner case which dealt with the issue involved in the instant case. When the interpretation we placed upon the medical malpractice statute of limitations in Tanner is applied to the facts of the instant case, it is evident that the court below correctly reversed the summary judgment entered against the Norsworthys. Therefore, we approve the result of the decision below.
It is so ordered.
BARKETT, C.J., and OVERTON, MCDONALD, SHAW, KOGAN and HARDING, JJ., concur.
